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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
                                                     FILED: APRIL 3, 2009
DARRYL LEONARD,                        )             09CV2066
                                       )
                                                     JUDGE BUCKLO
      Plaintiff,                       )  Case No.:
                                       )             MAGISTRATE JUDGE NOLAN
               v.                      )             CH
                                       )
JILL MACKOWIAK, HASIM                  )  COMPLAINT FOR
DEMPSEY, JONATHAN HENDERSON,           )  VIOLATION OF CIVIL RIGHTS
Individually, and THE VILLAGE OF       )  AND STATE SUPPLEMENTAL
SOUTH HOLLAND,                         )  CLAIMS
                                       )
      Defendants.                      )
                                          JURY DEMANDED




                                  JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343 and 1331 and 1367 if state supplemental claims are alleged.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                              PARTIES

        3.      At all times herein mentioned, Plaintiff DARRYL LEONARD was and is a citizen

of the United States, and was within the jurisdiction of this court.

        4.      At all times herein mentioned, Defendants, the Village of South Holland Police

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employed by the Village of South Holland Police Department, and were acting under color of
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state law and as the employees, agents, or representatives of the Village of South Holland Police

Department. These Defendants are being sued in their individual capacities.

        5.      At all times herein mentioned, the VILLAGE OF SOUTH HOLLAND

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        sa political division of the State of Illinois, existing as such under the laws of the

State of Illinois. At all relevant times, the VILLAGE OF SOUTH HOLLAND maintained,

managed, and/or operated the Village of South Holland Police Department.

                                   FACTUAL ALLEGATIONS

        6.      On or about November 10, 2007, Plaintiff was lawfully in a public place, in the

Village of South Holland, Cook County, State of Illinois.

        7.      On that day and place and without legal cause Defendant MACKOWIAK threatened

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        8.      On that day and place the individual Defendants seized Plaintiff.

        9.      Plaintiff did not consent to being seized.

        10.     There was no outstanding arrest warrant for Plaintiff.

        11.     There was no legal cause to seize Plaintiff.

        12.     During the course of seizing Plaintiff, the individual Defendants used force against

Plaintiff.

        13.     There was no legal cause for the individual Defendants to use force against Plaintiff.

        14.     Further, to the extent that any Defendant did not use force, such Defendant failed to

take any action to protect Plaintiff from the force used by the other individual Defendants, despite

the reasonable ability to do so.

        15.     Plaintiff is informed and believes and alleges thereon that the individual




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Defendants entered into an agreement to violate the rights of Plaintiff by falsely arresting and

bringing false criminal charges against Plaintiff. These are not routine police practices.

        16.    Plaintiff is informed and believes and alleges thereon that the individual

Defendants conspired with one another to cause Plaintiff to be falsely arrested and for false

criminal charges to be brought against Plaintiff.

        17.     Plaintiff was transported to the City of Markham police station where he was

imprisoned.

        18.     On or about November 10, 2007, the individual Defendants caused false criminal

charges to be brought against Plaintiff for Possession of a Controlled Substance.

        19.      By reason of the above-described acts and omissions of Defendants, Plaintiff

        sustained injuries, including but not limited to, humiliation and indignities, loss of earnings

        and suffered great mental and emotional pain and suffering all to his damage in an amount

        to be ascertained.

        20.     The aforementioned acts of defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiff's rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

                                              COUNT I
                             Plaintiff Against Individual Defendants for
                                   UNREASONABLE SEIZURE

        21.      Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty (20)

hereat as though fully set forth at this place.




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        22.     By reason of the conduct by the Defendants, Plaintiff was deprived of rights,

privileges and immunities secured to him by the Fourth and/or Fourteenth Amendments to the

Constitution of the United States and laws enacted thereunder.

        23.     The arbitrary intrusion by the Defendants, into the security and privacy of

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was without any legal cause. The foregoing was unnecessary, unreasonable and excessive, and

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pursuant to 42 U.S.C. § 1983.

                                         COUNT II
                         Plaintiff Against Individual Defendants for
                     EXCESSIVE FORCE AND FAILURE TO PROTECT

        24.      Plaintiff hereby incorporates and realleges paragraphs one (1) through twenty (20)

hereat as though fully set forth at this place.

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        26.      To the extent that any Defendant did not use force against Plaintiff, such Defendant

failed to protect Plaintiff against the excessive use of force, despite the reasonable ability to do so.

        27.     There was no legal cause for Defendants to use force against Plaintiff.

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                                             prived of rights, privileges and

immunities secured to him by the Fourth and/or Fourteenth Amendment to the Constitution of the

United States and laws enacted thereunder.




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       29.     The physical violence inflicted upon Plaintiff by Defendants was unnecessary,

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Amendment Rights. Therefore, Defendants are liable to Plaintiff pursuant to 42 U.S.C. § 1983.

                             COUNT III
                  Plaintiff Against Individual Defendants for
      CONSPIRACY TO DEPRIVE PLAINTIFF OF CONSTITUTIONAL RIGHTS

       30.      Plaintiff hereby incorporates and re-alleges paragraphs one (1) through twenty

(20) hereat as though fully alleged in this place.

       31. As alleged, Defendants entered into a conspiracy by engaging in joint action and

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criminal charges against Plaintiff.

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furtherance of said agreement resulted in the deprivations of rights, privileges, and immunities

secured to him by the Fourth and Fourteenth Amendments to the Constitution of the United

States and laws enacted thereunder.

       33. The acts described constituted a wrongful seizure and a violationofPl
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process rights. Therefore, Defendants are liable for conspiracy under 42 U.S.C. § 1983.


       WHEREFORE, the Plaintiff, by and through his attorneys, ED FOX & ASSOCIATES,

requests judgment as follows against the Defendants, and each of them:

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ascertained;

       3. That the Defendants other than the Village of South Holland be required to pay
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Access to Justice Act or any other applicable provision;



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       4. That the Defendants other than the Village of South Holland be required to pay punitive
and exemplary damages in a sum to be ascertained;

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       6. That Plaintiff have such other and further relief as this Court may deem just and proper.



                                             BY: /s/ Edward M. Fox
                                                     Edward M. Fox
                                                     ED FOX & ASSOCIATES
                                                     Attorneys for Plaintiff
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          PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                BY:    s/ Edward M. Fox
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